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                  DISTRICT COURT OF THE VIRGIN ISLANDS

                              DIVISION OF ST. CROIX
                                          5
UNITED STATES OF AMERICA,                 5
                                          5
                        Plaintiff,        5           2008-CR-0020-03
      v.                                  5
                                          5
OKIMO MILLIGAN,                           5
                                          5
                        Defendant.        5
__________________________________________5



TO:   Alphonso G. Andrews, Jr., Esq., AUSA
      Eric S. Chancellor, Esq.



                    ORDER REGARDING MOTION TO SEVER

      THIS MATTER came before the Court upon Defendant Okimo Milligan’s Motion

to Sever Defendants [sic] (Docket No. 72). A hearing was held January 26, 2009. The

government was represented by Alphonso G. Andrews, Jr., Esq., AUSA. Jeffrey B.C.

Moorhead, Esq., appeared on behalf of Defendant Amon Thomas; Michael A. Joseph, Esq.,

appeared on behalf of Defendant Nathaniel Thomas; Eric S. Chancellor, Esq., appeared on

behalf of Defendant Okimo Milligan; and, Thurston McKelvin, Esq., FPD, appeared on

behalf of Andrea Soto.

      Defendant Okimo Milligan seeks to sever his trial from the trial of his three co-

defendants in this matter. Said Defendant bases his motion upon the fact that certain
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allegedly inculpatory statements were made by two (2) of the said co-defendants and that

at a joint trial where said co-defendants do not testify, said Defendant would be unable to

cross-examine them, thus violating his constitutional right to confront a witness.

       Having heard the arguments of the parties and considering all the evidence before

it, the Court finds that said Defendant’s motion is premature. There has been no showing

that the statements at issue will be offered into evidence at trial. In addition, said

Defendant has not revealed the nature of his defense to the charges against him nor has he

demonstrated how the particular statements are inculpatory. Consequently, the Court will

deny said Defendant’s motion at this juncture and allow the trial judge to make any

necessary evidentiary or other rulings at the appropriate time.

       Now therefore, it is hereby ORDERED that Defendant Okimo Milligan’s Motion to

Sever Defendants [sic] (Docket No. 72) is DENIED WITHOUT PREJUDICE.

                                                 ENTER:



Dated: January 26, 2009                          /s/ George W. Cannon, Jr.
                                                 GEORGE W. CANNON, JR.
                                                 U.S. MAGISTRATE JUDGE
